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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division



    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ, HANNAH
    PEARCE, MARCUS MARTIN, NATALIE
    ROMERO, CHELSEA ALVARADO, and
    JOHN DOE,

                                    Plaintiffs,            Civil Action No. 3:17-cv-00072-NKM

     v.

     JASON KESSLER, et al.,

                                    Defendants.



     [PROPOSED] ORDER SEALING EXHIBIT TO PLAINTIFFS’ MOTION SEEKING
        LEAVE TO DEPOSE THOMAS RYAN ROUSSEAU AS AN AUTHORIZED
                 REPRESENTATIVE OF VANGUARD AMERICA

          WHEREAS, on September 5, 2019, Plaintiffs filed a Motion Seeking Leave to Depose

   Thomas Ryan Rousseau as an Authorized Representative of Vanguard America, (ECF No. 551),

   and did not publicly file Exhibit 1 in accordance with Plainttiffs’ position that Exhibit 1 contains

   Confidential or Highly Confidential information pursuant to the Order for the Production of

   Documents and Exchange of Confidential Information on January 3, 2018 (ECF No. 167);

          WHEREAS, Plaintiffs have provided unredacted copies of the Exhibit to the Court and

   moved, pursuant to Local Rule 9, for the Exhibit to be sealed.

          IT IS HEREBY ORDERED, that Exhibit 1 to Plaintiffs’ Motion is hereby sealed pursuant

   to Local Rule 9.
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   Dated:

   SO ORDERED


                                                       ____________________
                                                       Hon. Joel C. Hoppe, M.J.
